891 F.2d 290
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.William L. HAYES, Plaintiff-Appellant,v.Mary UGWUZOR;  Lou Meyer, Defendants-Appellees.
    No. 89-2272.
    United States Court of Appeals, Sixth Circuit.
    Dec. 11, 1989.
    
      Before BOYCE F. MARTIN, Jr., NATHANIEL R. JONES and RALPH B. GUY, Jr., Circuit Judges.
    
    ORDER
    
      1
      This appeal has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      A review of the documents before the court indicates that appellant appealed on November 1, 1989, from the magistrate's report and recommendation entered October 23, 1989, recommending that summary judgment be granted.
    
    
      3
      An order of the magistrate is not appealable unless the magistrate is given plenary jurisdiction by the district court and by consent of the parties pursuant to 28 U.S.C. § 636(c)(1).   Tripati v. Rison, 847 F.2d 548 (9th Cir.1988) (per curiam);  McGraw v. Connelly ( In re Bell &amp; Beckwith ), 838 F.2d 844, 848 n. 5 (6th Cir.1988);   Ambrose v. Welch, 729 F.2d 1084, 1085 (6th Cir.1984) (per curiam);   Trufant v. Autocon, Inc., 729 F.2d 308, 309 (5th Cir.1984) (per curiam).   The magistrate was not given plenary jurisdiction in this case.
    
    
      4
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.   Rule 9(b)(1), Rules of the Sixth Circuit.
    
    